Case 1:20-cv-02702-RM-SKC Document 125-3 Filed 02/14/22 USDC Colorado Page 1 of 2




                                             February 8, 2022
   Skippere “Skip” Spear
   Office of the Attorney General
   Ralph L. Carr Colorado Judicial Center
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          Re: Search Terms for Defendant’s Search for ESI Responsive to Plaintiff’s Requests
          for Production

   Dear Counsel,

   Below please find a list of search terms to search for responsive ESI pursuant to Plaintiff’s Requests
   for Production dated August 31, 2021.


                                                                  Sincerely,



                                                                  RATHOD MOHAMEDBHAI LLC
                                                                  Benjamin DeGolia
                                                                  bd@rmlawyers.com
                                                                  Attorney for Plaintiff
Case 1:20-cv-02702-RM-SKC Document 125-3 Filed 02/14/22 USDC Colorado Page 2 of 2




   “Katelyn”                  “Donor”                     “fail!” /s “report!”
   “Schiller”                 “Brunch”                    “delay!” /s “report!”
   “Susie” OR “Suzie”         “Savi!”                     “auxiliary suite”
   “Wargin”                   “Gudiel” OR “Guidel”        “bruis!”
   “Mike OR Michael” AND      “WGAC”                      “drag!”
   “Best OR Wargin”
                              “Thigh!”                    “assault!”
   “Karla”
                              “Pocket!”                   “intoxicated”
   “Lewis”
                              “deliberate! indifferen!”   “OEO OR Office of Equal
   “Shawn”                                                Employment” AND
                              “Landmark”
                                                          “Schiller”
   “Sumstein” OR “Sumstine”
                              “Blake”
                                                          “touch!” AND “body OR
   “Abigail”
                              “Phillips”                  sex!”
   “Hall”
                              “Clem”                      “severe” AND “pervasive”
   “Loge”
                              “report” AND “24 hour!”     “open” /s “pocketbook”
   “Spectra”
                              “Schell”                    “Marquette”
   “Sept! 7!”
                              “inappropriate!”            “unacceptable OR
   “Sept! 21!”                                            inappropriate” AND
                              “sexual contact”            “behavior”
   “Oct! 5!”
                              “sexual misconduct”
   “Grab!”
                              “Knudsen”
   “Bruis!”
                              “remove!”
   “Bitch”
                              “allow!” /s “back”
   “Hips”
                              “new information”
   “Harass!”
                              “video” AND “canvas OR
   “Title IX”                 loge OR stadium”
   “Gretchen”                 “study abroad”
   “Tribken”                  “grop!”
   “Booster”                  “caress!”
